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 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
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10   ANTHONY R. HUGHES,                       )   Case No.: 2:20-cv-07949-PVC
                                              )
11                Plaintiff,                  )   ORDER AWARDING EQUAL
                                              )   ACCESS TO JUSTICE ACT
12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
13   ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
     Commissioner of Social Security,         )   U.S.C. § 1920
14                                            )
                  Defendant                   )
15                                            )
                                              )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal
18   Access to Justice Act Fees, Costs, and Expenses:
19         IT IS ORDERED that fees and expenses in the amount of $1,000.00 as
20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
21   awarded subject to the terms of the Stipulation.
22   DATE: April 23, 2021
23                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                               HON. PEDRO V. CASTILLO
24                             UNITED STATES MAGISTRATE JUDGE

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